97 F.3d 1446
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Harrison T. ANDERSON, Plaintiff--Appellant,v.W.H. HAND, Jr., President, THT Enterprises, Incorporated,Defendant--Appellee.
    No. 96-1830.
    United States Court of Appeals, Fourth Circuit.
    Sept. 17, 1996.
    
      Harrison T. Anderson, Appellant Pro Se.  Bradley Arthur Elliott, Roanoke Rapids, North Carolina, for Appellee.
      Before WIDENER and WILKINS, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing his civil action for lack of subject matter jurisdiction.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.   Anderson v. Hand, No. CA-94-127-4-BO (E.D.N.C. May 23, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    